                    Case
                    Case1:25-cv-03474-NRB
                         1:25-cv-03474-CM                 Document
                                                          Document43          Filed
                                                                              Filed04/29/25
                                                                                    04/28/25           Page
                                                                                                       Page11of
                                                                                                             of33

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                   Southern District
                                                 __________ District of
                                                                     of New York
                                                                        __________

                                                                    )
                                                                    )
                                                                    )
Mariano Torres and Lester Wilson                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No. 25-cv-03474-NRB
                                                                    )
                                                                    )
James Carlson, Aidan Parisi, Grant Miner, Catherine                 )
Curran-Groome, People’s Forum, Inc., Lisa Fithian,                  )
Gabriel Yancy, Ethan Choi, and John Does 1-40                       )
                           Defendant(s)                             )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)

                    SEE ATTACHED RIDER




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                      Paul M. Eckles
                                      THE LOUIS D. BRANDEIS CENTER FOR
                                      HUMAN RIGHTS UNDER LAW
                                      1330 Ave of the Americas, 23rd Fl.
                                      New York, NY 10019
                                      Tel.: (212) 653-0630


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


Date:           04/29/2025                                                            /s/ P. Canales
                                                                                        Signature of Clerk or Deputy Clerk
                       Case
                       Case1:25-cv-03474-NRB
                            1:25-cv-03474-CM                  Document
                                                              Document43        Filed
                                                                                Filed04/29/25
                                                                                      04/28/25           Page
                                                                                                         Page22of
                                                                                                               of33

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                    , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                          ; or

           ’ Other (specify):
                                                                                                                                        .


           My fees are $                           for travel and $                  for services, for a total of $                     .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
       Case
       Case1:25-cv-03474-NRB
            1:25-cv-03474-CM       Document
                                   Document43   Filed
                                                Filed04/29/25
                                                      04/28/25   Page
                                                                 Page33of
                                                                       of33




                                      RIDER


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Brooklyn, New York 11215

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434 West 120th St., Apt 4G
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